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                          UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

In Re:                                                    Chapter 13
         LESTER ISIAH YOUNG
                                                          Bankruptcy No. 24-11102-AMC

                               Debtor

                                              ORDER

       AND NOW, upon consideration of the Motion to Dismiss Case filed by Kenneth E.
West, Esq., Standing Trustee, and after notice and hearing, it is hereby ORDERED that this case
is DISMISSED and that any wage orders previously entered are VACATED.

        IT IS FURTHER ORDERED if the case has been confirmed and the Trustee is holding
funds, any undisbursed funds held by the Chapter 13 Trustee from payments made on account of
the Debtor(s)’ plan shall be refunded to the Debtor(s) unless a party in interest files a Motion for
Alternative Disbursement within 21 days of the entry of this Order.



 Date: December 20, 2024
                                                  Honorable Ashely M. Chan
                                                  Bankruptcy Judge
